                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                            CRIMINAL DOCKET NO.: 5:06CR44

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )                                    SEQUESTRATION
                                          )                                       ORDER
MORRISON, ET AL.,                         )
                                          )                                       Rule 615
            Defendants.                   )                                 Federal Rules of Evidence
_________________________________________ )

        IT IS, HEREBY, ORDERED that any person who will be or may become a witness in

this case (except those excluded by Rule 615) is prohibited from being in the courtroom or within

hearing of it during the trial of this matter except at the time of his or her own testimony. All

witnesses in this case are also ordered not to talk about prior testimony with any witness or other

person who has been in the courtroom during testimony. All witnesses are further ordered not to

talk with anyone who will be or may become a witness about any subject related to this trial. The

attorneys in this case are ordered to relay the contents of this order to their own witnesses and are

further ordered to scan the courtroom periodically to facilitate removal of such witnesses if any

of them have inadvertently come into the courtroom. The lawyers are ordered not to divulge the

content of testimony already given in this case to any prospective witness.



                                                      Signed: September 11, 2007




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